4 F.3d 986
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.O'ORELL SHARRIEFF, Petitioner-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 93-6164.
    United States Court of Appeals,
    Fourth Circuit.Submitted:  July 29, 1993.Decided:  August 19, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.
      O'Orell Sharrieff, Appellant Pro Se.
      Robert H. Anderson, III, Office of the Attorney General of Virginia, for Appellee.
      E.D.Va.
      DISMISSED
      Before WILKINS and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      O'Orell Sharrieff seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Sharrieff v. Murray, No. CA-92-351-N (E.D. Va.  Jan. 21, 1993).  We deny Sharrieff's motion for oral argument and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    